Case:18-04070-ESL11 Doc#:109 Filed:11/26/18 Entered:11/26/18 14:47:27   Desc: Main
                            Document Page 1 of 5
Case:18-04070-ESL11 Doc#:109 Filed:11/26/18 Entered:11/26/18 14:47:27   Desc: Main
                            Document Page 2 of 5
Case:18-04070-ESL11 Doc#:109 Filed:11/26/18 Entered:11/26/18 14:47:27   Desc: Main
                            Document Page 3 of 5
Case:18-04070-ESL11 Doc#:109 Filed:11/26/18 Entered:11/26/18 14:47:27   Desc: Main
                            Document Page 4 of 5
Case:18-04070-ESL11 Doc#:109 Filed:11/26/18 Entered:11/26/18 14:47:27   Desc: Main
                            Document Page 5 of 5
